                IN THE UNITED STATES DISTRICT COURT
                  FOR THE DISTRICT OF PUERTO RICO

UNITED STATES OF AMERICA,

     Plaintiff,

           v.                      CIVIL NO. 12-2039 (FAB)

COMMONWEALTH OF PUERTO RICO, et
al.,

     Defendants.


        Responsive Motion to the Court’s Order That the
              Office of the Special Master Assess
          the Puerto Rico Police Bureau Reform Office

    NOW COMES Special Master Dr. Alejandro del Carmen in

response to the order of the Court in Docket No. 2036, dated May

23, 2022, in which the Court directed the Office of the Special

Master (OSM) to assess the Puerto Rico Police Bureau Reform

Office (PRPB Reform Office) staffing levels, resources, and

overall construct, and to report its findings and

recommendations to the Court by September 16, 2022 (extended

from the original due date of on July 22, 2022, at Order No.

2097 dated July 19, 2022).   This motion was previously provided

to the parties and the Monitoring Team in draft form and

incorporates their recommendations.
Civil No. 12-2039 (FAB)                                            2


     History and Background of the PRPB Reform Office

     The initial description of the construct of the PRPB Reform

Office was included in the original Agreement for the

Sustainable Reform of the Puerto Rico Police Department, dated

July 17, 2013 (see Docket No. 57-1) (“Agreement”) at paragraphs

231 through 233 at section XIV. C. Development, Implementation,

and Assessment of Action Plans:

     231. PRPD shall hire and retain qualified employees, or

     reassign qualified current PRPD employees, to strengthen

     PRPD’s Reform Unit, which shall be an interdisciplinary and

     multi-rank unit with the skills and abilities necessary to

     plan for and facilitate implementation of this Agreement.

     The Reform Unit shall serve as the source of reform within

     PRPD, and PRPD shall ensure that members of the Reform Unit

     receive all necessary training and resources to

     successfully complete their tasks.   This unit also shall

     serve as the liaison between the Parties, the TCA, and the

     CICs, and will assist with PRPD’s implementation of and

     compliance with this Agreement.

     232. At a minimum, the Reform Unit will coordinate PRPD’s

     compliance and implementation activities; facilitate the
Civil No. 12-2039 (FAB)                                             3


     provision of data, documents, materials, and access to

     Commonwealth of Puerto Rico and PRPD officials or employees

     to the TCA, CICs, and DOJ, as needed, in accordance with

     the terms of this Agreement; ensure that all data,

     documents and records are maintained as provided in this

     Agreement; and assist in assigning implementation and

     compliance related tasks to PRPD personnel, as directed by

     the Superintendent or his or her designee.

     233. The Reform Unit shall include at least one PRPD

     supervisor who reports directly to the Superintendent.

     PRPD shall inform the TCA and DOJ of any changes to Reform

     Unit staff, including suspensions, reassignments, and

     dismissals of personnel.   The Superintendent may designate

     PRPD personnel, including members of the Reform Unit, and

     external resources, which are in his professional judgment

     critical to the successful implementation of this Agreement

     and the comprehensive reform of PRPD.   The Commonwealth and

     PRPD shall make their best efforts to retain such personnel

     and resources to ensure continuity of effort and successful

     implementation.

     Nearly two years later, on April 15th, 2015, the PRPB

issued a General Order (General Order) titled “CREACIÓN Y
Civil No. 12-2039 (FAB)                                              4


ORGANIZACIÓN FUNCIONAL DE LA OFICINA DE REFORMA” (Chapter 100,

Section 111) creating the Reform Office which would report

directly to the Office of the Superintendent.    The General Order

made reference to the investigation conducted by the U.S.

Department of Justice and the Agreement that resulted from that

investigation and the 11 specific compliance areas.      The order

established the positions of Director and Assistant Director of

the Reform Office and specifically indicated the Reform Office

would be organized into sections corresponding to the 11

compliance areas: Professionalization; Use of Force; Searches

and Seizures; Equal Protection and Non-Discrimination;

Recruitment, Selection and Hiring; Policies and Procedures;

Training; Supervision and Management; Civilian Complaints,

Internal Investigations and Discipline, Community Engagement and

Public Information; and Information Systems and Technology.

That is, the six sections below would encompass the specific 11

compliance areas.

     Those sections were identified as:


        •   The Implementation and Compliance Section.

        •   The Policies and Procedures Section.

        •   The Community Interaction Section.
Civil No. 12-2039 (FAB)                                             5


        •   The Section on Efficiencies of Systems and Management

            Processes.

        •   The Professional Development Section.

      The order indicated the Director of the Reform Office would

request “necessary staffing” but did not specify the number of

staff to be assigned to the Reform Office.    In addition to

staffing organic to the Reform Office, the order stated two

external sources of ongoing support to the Reform Office:


  •   PRPB will hire the services of a firm of auditors to

      supervise, under the laws of Puerto Rico, the transactions

      of funds and public property to determine whether the

      transactions have been made in accordance with the laws

      governing the fiscal affairs of the Commonwealth and to

      ensure the efficient and effective use of the Agency's

      resources.   The contracted auditing firm will report

      directly to the Superintendent (Section III.c.).

  •   Each Assistant Superintendent, Area Commander, Office,

      District, or Precinct Director shall be responsible for

      providing, without objection or delay, all information,

      documents, or resources as may be requested by the Reform

      Office (Section III.g.).
Civil No. 12-2039 (FAB)                                            6


     On April 10, 2017, the Commonwealth passed Act No. 20 of

2017 (the Act). That law created the Department of Public Safety

and redefined the independent Puerto Rico Police Department into

one of seven Bureaus under “the administration and immediate

supervision” of DSP (§ 2.02 of the Act) and reiterated that the

Commissioner of PRPB had the duty “to ensure compliance with the

Police Reform Agreement” (§ 2.04(b) of the Act).

     Significantly, on February 17, 2022, Puerto Rico Governor

Pedro R. Pierluisi, issued an executive order reorganizing the

overall executive management of the Reform by the Commonwealth.

The order stated the following:

       I appoint the Secretary of DPS, as his official

       representative in all matters concerning the

       police reform case, to exercise all powers,

       administrative and supervisory as per [relevant

       laws of Puerto Rico].   The Secretary will

       coordinate the efforts for the completion of the

       Reform with the PRPB Commissioner, steadfast and

       within the parameters of supervision and

       collaboration.
Civil No. 12-2039 (FAB)                                              7


     The order described the chronological progress of the

Reform and noted that the Reform had reached a crucial stage in

which it was urgent to provide all possible support to the

reform of the PRPB, and that the Reform being directly managed

by the Department of Public Safety (DPS) would more quickly lead

to the required level of compliance.

     Methodology

     The OSM has requested and received documents related to the

history and organization of the PRPB Reform Office and has

conducted interviews with relevant individuals with knowledge

of, and experience with, the PRPB Reform Office.     Some of these

individuals work in the Reform Office and have experienced its

evolution throughout the years.   The OSM conducted interviews of

PRPB personnel ranging from the lowest non-supervisory employees

through, and including, the PRPB Commissioner.     The leadership

of the Monitoring Team was interviewed along with a few of the

subject matter experts.   Further, attorneys representing the

USDOJ Civil Rights Division (plaintiffs in this case) were also

interviewed.   The entire executive management team of DPS that

has any nexus to the PRPB Reform Office was interviewed, to

include the Secretary.    Additionally, representatives in

numerous other Federal Consent Decrees across the country were
Civil No. 12-2039 (FAB)                                             8


interviewed at length regarding their respective reform offices

organic to their defendant police departments.   The focus of the

OSM during these interviews was to identify best practices and

common errors across the country on the structure of reform

offices, their function, limitations, and strengths, along with

their ability to obtain data and relevant information for the

monitors.

     Results of the Assessment and Finding of the OSM

  1. The staffing of the PRPB Reform Office is inadequate and

     inconsistent with the founding General Order.   The current

     Director of the PRPB Reform Office is Captain Carlos J.

     Figueroa Ortolaza. He replaced Lieutenant Colonel Alba Iris

     Díaz Torres in April 2021. There is no Assistant Director

     of the Reform Office as mandated by the founding General

     Order.   The PRPB Reform Office is located in the

     headquarters building of the PRPB in San Juan and has

     approximately 20 uniformed personnel staff members with

     rotating cadets to support office duties.   Approximately

     six staff members are Lieutenants, five are Sergeants, and

     seven are non-supervisory agents.   The PRPB Reform Office

     also has three internal legal advisors. Members of the PRPB

     Reform Office remarked that there has been a significant
Civil No. 12-2039 (FAB)                                               9


     loss of personnel in the PRPB Reform Office since the

     period of capacity building despite the growth of

     responsibilities and duties to provide information and data

     to the Monitoring Team.

     While generally consistent with the Agreement, the PRPB

     Reform Office is grossly understaffed.     Literally everyone

     interviewed by the OSM with knowledge of the day-to-day

     information request and response process indicated it

     needed significant enhancements to its personnel.     The PRPB

     Reform Office management indicated the number of staff

     should be at least doubled.   For comparison, the Chicago

     Police Department which is comparable in size to the PRPB

     with a Consent Decree addressing fewer issues, staffs their

     reform office with over 200 personnel, and another 600

     throughout the department are identified as having

     supporting roles.

     An aspect of the PRPB Reform Office which is unique

     compared to other reform offices in police departments

     under similar Consent Decrees is that nearly all assigned

     personnel are sworn, uniformed officers.     In other consent

     decrees across the country, reform offices - particularly

     in leadership roles - are staffed by non-sworn managers
Civil No. 12-2039 (FAB)                                              10


     with demonstrated skill in project management.     Most of

     these civilian managers have no prior law enforcement

     experience but have extensive experience in leading and

     managing complex and sensitive organizational and cultural

     change.

     The requirement established in the founding General Order

     that a firm of outside auditors be retained to supervise

     and provide oversight of the financial expenditures of the

     PRPB Reform Office has never been implemented.     While

     germane to this assessment, it noted that this issue is

     currently being thoroughly addressed by the Court (see

     Order at docket 2112).

  2. The assignments of staff members in the PRPB Reform Office

     are not focused.     Reform Office staff are not individually

     or specifically assigned to the 11 specific compliance

     areas defined in the Agreement and noted in the founding

     General Order.     There is no mention of the six sections

     defined in the General Order in the current organization of

     the PRPB Reform Office.     Because of the limited number of

     personnel assigned to the Reform Office, management, and

     data collection in the 11 compliance areas of the Agreement

     are randomly assigned to six members of the PRPB Reform
Civil No. 12-2039 (FAB)                                           11


     Office.   This creates a lack of ownership among staff

     members, does not allow them to develop expertise on

     specific topics, and does not encourage staff members to

     develop relationships with specific PRPB personnel in the

     field to facilitate information flow and execute policy

     change implementation.

     Significantly, there are only approximately six staff

     members in the PRPB Reform Office tasked with interacting

     with the Monitoring Team to provide the information

     requested for the recurring Chief Monitor’s Reports (CMR).

     Again, there is nothing in the current construct that

     reflects tailored assignments to the 11 compliance areas

     and six sections as defined in the founding General Order.

     Data requests, policy development and directives regarding

     training are randomly assigned to staff members of the PRPB

     Reform Office.   Further, no members of the PRPB Reform

     Office go out to the field (on a regular basis), and there

     are no designated points of contact with respect to the

     Reform in the 13 field precincts.

     The OSM observed in its interaction with consent decrees

     across the country that virtually every current reform

     office in police departments under consent decree have
Civil No. 12-2039 (FAB)                                             12


     assigned personnel levels that allow the specific

     assignment of adequate staffing to each identified

     compliance area.      Typically, those reform offices have a

     supervisor responsible for each compliance area with a team

     who are personally responsible and accountable for the

     management of compliance in that area(s).      Those

     individuals then routinely interact with department

     personnel outside the reform who are identified

     specifically as points of contact for those reform office

     compliance area teams.      This provides defined pipelines

     throughout those departments to facilitate the work of

     those reform offices and establishes responsibility and

     accountability to PRPB employees in the 13 precincts and

     headquarters substantive units.

  3. Inadequate PRPB Executive Management engagement with the

     Reform process.      Interviewees cited little to no leadership

     engagement since the inception of the Reform.      This is

     particularly true of the senior executive management of

     PRPB lacking coordination with DPS which negatively affects

     the regular course of business of the PRPB Reform Office.

     While the current leadership of the PRPB Reform Office is

     universally well regarded, there clearly needs to be higher
Civil No. 12-2039 (FAB)                                            13


     ranking supervision assigned to the PRPB Reform Office and

     more critical attention by the senior leaders in PRPB.

     This was evident in the Chief Monitor’s Reports where

     issues cited by the Monitoring Team do not change or

     improve when assessed every six months.    In fact, in some

     instances, areas that have been designated by the monitor

     as having achieved “partial compliance” revert back to

     “noncompliance”. Other issues identified included:

     •   There is inadequate connectivity between PRPB and DPS in

         the day-to-day operations of the PRPB Reform Office.

     •   The Director of the Reform office appears to be answering

         independently to the Secretary of DPS and the PRPB

         Commissioner, which often results in conflicting

         directions.

     •   The PRPB Reform Office appears to have no capacity to

         compel compliance of those in the PRPB they request

         information from who provide inadequate or inaccurate

         information.

     •   Reform is not being reinforced from the executive ranks

         down through the chain-of-command.   Presently, reform

         efforts are viewed as the Reform Office’s responsibility.
Civil No. 12-2039 (FAB)                                            14


     •   PRPB Supervisors often appear disinterested in the Reform

         and/or unaware of the requirements of the reform

         Agreement.

     Captain Figueroa is universally highly regarded but the

     PRPB Reform Office Director should be a Lieutenant Colonel

     or higher.   This may be one of the reasons that prompted

     the Governor to issue the recent Executive Order

     establishing the Secretary of DPS as the lead executive

     manager of the Reform.   It is noted that no reorganization

     or additional assignments to the PRPB Reform Office have

     been made as a result of the Executive Order.

     An observation made by many interviewed by the OSM was that

     the PRPB Reform Office was very distinct from the rest of

     PRPB.   That is, the PRPB Reform Office was seen as a lone

     entity disconnected from the mainstream PRPB – not as an

     integral component of PRPB incorporated throughout the

     fabric of the department.   This is another aspect that

     profoundly distinguishes the PRPB Reform Office from other

     police departments undergoing a consent decree.    In other

     reforms, particularly those with many years into the

     process, police departments have developed entities tasked

     with oversight and compliance.   For example, the Baltimore
Civil No. 12-2039 (FAB)                                             15


     Police Department is in its sixth year of a Consent Decree

     with U.S. DOJ.   The department has approximately 2,800

     sworn officers and one of the highest violent crime rates

     in the United States.    The department is organized under

     four distinct Bureaus: The Operations Bureau, the Public

     Integrity Bureau, the Compliance Bureau, and the

     Administrative Bureau (see:

     https://www.baltimorepolice.org/sites/default/files/2022-

     05/Org%20Chart%20Revised%20May%202022%20-%20web.pdf). The reform

     office in the department is housed under the umbrella of

     the Compliance Bureau.    This not only affirmatively

     supports the efforts of the reform office, but it infuses

     the efforts and messaging of the reform office throughout

     the department by strategically developing and instilling

     cultural change in addition to specific tangible measures

     that will remain after the conclusion of the consent

     decree.

  4. PRPB is not adequately responsive to requests for

     information from the Monitoring Team.     There are

     significant systemic issues with the process of the

     monitoring team requesting information and receiving

     thorough accurate responses from PRPB.     Numerous examples
Civil No. 12-2039 (FAB)                                             16


     were provided by many of those interviewed citing specific

     requests for information to various sections of PRPB with

     responses that were inadequate, incomplete, and inaccurate.

     The reason typically cited for these subpar responses were

     that the reform office was understaffed, the responding

     entities were understaffed, there was inadequate management

     oversight of the information request process, and no

     accountability by those responsible for ensuring the

     integrity of the information request process.     The entire

     information request process lacks critically needed quality

     control.    A macro view example illustrating these points is

     that CMR-5, 6, and 7 are largely unchanged.     Several

     members of the Monitoring Team expressed frustration over

     data requests being repeated over several CMR iterations

     resulting in the repeated same inadequate response being

     provided.

  5. Inadequate information flow throughout relevant

     Commonwealth entities. A consistent theme from interviews

     conducted by OSM indicated communication barriers between

     DPS and PRPB. Both entities were viewed by those we

     interviewed, as independently taking steps to move the

     Reform forward - without collaboration or meaningful
Civil No. 12-2039 (FAB)                                            17


     coordination with the other. This balkanized approach

     undermines the entire reform process.

     An example of this communication disconnect: while

     interviewing the DPS Secretary, the OSM learned the

     Secretary planned to hire between 20-23 Certified Public

     Accountants (CPA) to compile financial information from the

     13 area commands and condense the information into one

     report for the Monitoring Team.     The CPAs would provide

     quality control for the information’s accuracy and

     structure the information for easy review by the Monitoring

     Team.   Shortly thereafter, when the OSM interviewed the

     PRPB Commissioner, he advised the OSM of the planned

     deployment of 26 officers to perform the same functions in

     the 13 area commands as the CPAs.      It was clear the DPS

     Secretary and PRPB Commissioner were unaware of each

     other’s plans.

     The 13 area commands of the PRPB operate independently with

     great autonomy.      This creates an inherent challenge for the

     Reform Office in making information requests from the

     Monitoring Team by tasking the 13 area commands.      The

     collective information provided by the area commands to the

     Reform Office is not consistent and often unresponsive to
Civil No. 12-2039 (FAB)                                            18


     the information request or with significant inaccuracies.

     The Reform Office lacks the personnel to ensure the Monitor

     receives accurate information from the 13 area commands as

     it is staffed only to act as a conduit between the

     Monitoring Team and the 13 Precincts and not provide

     review, quality control and encourage or compel compliance

     and production.

  6. Lack of accountability of PRPB management.    Noncompliance

     with requests from the Monitoring Team typically goes

     unanswered by anyone in the chain-of-command. As noted

     above, requests from the Monitoring Team through the PRPB

     Reform Office to the field precincts often have inadequate

     or inaccurate replies.   That noncompliance is rarely noted

     and addressed internally by PRPB.

  7. IT systems are inadequate, not functional and IT expertise

     is lacking.   PRPB has an IT staff of two individuals.

     Although considered competent, PRPB requires significantly

     more IT staff to operate in the Reform Office.    At present,

     PRPB’s IT systems do not produce accurate data, are

     incapable of creating changes in forms to comply with the

     reform, and many necessary forms are not contained in

     PRPB’s IT system.    There is currently significant Court
Civil No. 12-2039 (FAB)                                           19


     mandated attention to this issue including PRPB retaining

     the IT firm Gartner and AH Analytics to improve information

     systems and make recommendations for improved IT

     efficiencies, as part of a recent U.S. DOJ initiated and

     court approved IT Plan.

  8. Training Division is minimally involved in the Reform

     Process

     For the goals of the Reform to become part of the cultural

     change within the PRPB, training curricula must reflect the

     changes mandated by the Reform.    The Monitoring Team

     reported in CMR-6 that PRPB failed to provide training

     calendars, schedules, and/or course curriculums for review.

     Seven paragraphs (of 18 in the Training Section) were rated

     not compliant.    In addition, constant communication between

     the Reform Office and Training Division is crucial to

     implementing change.    For example, the Training Division

     was recently unaware of the need to train newly appointed

     Sergeants.

     Recommendations

     Note that some recommendations have already been initiated

     due to the assessment of the OSM and specific practices

     and issues identified in the assessment.
Civil No. 12-2039 (FAB)                                              20


  1. Make the staffing of the PRPB Reform Office adequate and

     consistent with the founding General Order.

     •   The PRPB Reform Office staff needs to be significantly

         increased.    The OSM recommends that the court order the

         parties and the Monitoring Team to meet and discuss these

         findings and define a specific recommendation for the

         overall staffing needed. It is recommended that the

         staffing levels in the reform office increase by a

         minimum of 150% of its current capability. This should be

         done in the next 30 to 60 days.

     •   In defining those positions, the Commonwealth should

         strongly consider making some management positions in the

         Reform Office non-sworn civilians with demonstrated

         skills in project management and extensive experience in

         leading and managing complex and sensitive organizational

         and cultural change.   While preferred, it is not

         necessary for these managers to have law enforcement

         experience.

     •   The Commonwealth might consider incentive pay for

         personnel assigned to the Reform as they do for other

         critical positions.    The OSM learned of highly educated

         PRPB officers holding master’s degrees and, in some
Civil No. 12-2039 (FAB)                                            21


         cases, Doctorate degrees.   When asked why the Reform

         Office is not staffed with these highly educated

         officers, the response was that no one wants to be in the

         Reform Office and personnel were actively trying to be

         transferred out of the Reform Office due to lack of

         financial incentives.   Proposals for incentive pay for

         those assigned to the reform office, have been made in

         the past to former PRPB Commissioners, however, the

         Reform Office personnel never heard any response to these

         requests.

     •   The OSM makes no specific recommendation regarding the

         requirement established in the founding General Order

         that a firm of outside auditors be retained to supervise

         and provide oversight of the financial expenditures of

         the PRPB Reform Office has never been implemented, other

         than for the Court to continue the course defined in its

         Order at docket 2112.

  2. Make the assignments of staff members in the PRPB Reform

     Office and throughout the PRPB focused.

     •   In determining the staffing increase needed, the parties,

         Monitoring Office and OSM should define an organizational

         body which specifically assigns positions corresponding
Civil No. 12-2039 (FAB)                                              22


         to the 11 identified compliance areas.    This may include

         creating the six sections identified in the founding

         General order as oversight entities and assigning

         relevant compliance areas to each section.

     •   The critical recommendation is for there to be assigned

         personnel of the PRPB Reform Office to each of the 11

         compliance areas dedicated to those areas to foster

         ownership and accountability.

     •   In addition to assigning specific compliance areas of

         responsibility to PRPB Reform Office staff members, there

         should also be specific points of contact in the 13

         geographic divisions and non-geographic substantive units

         throughout the Commonwealth.    Points of contact in each

         of the 13 precincts should be identified and work in

         concert with management in those units as required by

         General Order, Section III.g.

     •   A General Order should be established outlining the

         selection process for personnel assigned to the Reform

         Office.   The General Order should include the knowledge,

         skills, and abilities required for assignment to the

         Reform Office.   For example, personnel possessing policy

         writing, industrial psychology, program management, and
Civil No. 12-2039 (FAB)                                            23


         change management skills could be sought for assignment

         to the Reform Office.

     •   Moreover, PRPB should consider drafting Standard

         Operating Procedures for personnel assigned to the Reform

         Office.   This will ensure the unit operates uniformly,

         consistently, and with defined roles and

         responsibilities.    Also, an SOP will ensure continuity of

         operations upon the reassignment of personnel as they

         relocate in and out of the Reform Office due to

         promotions, retirements, and transfers.

  3. Consider reorganizing the structure of the oversight of the

     PRPB Reform Office to have direct collaboration and

     interaction with DPS and implement other practices that

     improve PRPB Executive Management engagement with the

     Reform process.

     •   The current engagement of the PRPB Reform Office and PRPB

         executive management is perceived as being inadequate and

         in need of significant change – hence the Executive Order

         from the Governor.    The OSM recommends the Governor’s

         Executive Order mandating the Secretary will coordinate

         all compliance efforts be strongly considered by the

         parties and the Court in evaluating a more significant
Civil No. 12-2039 (FAB)                                               24


         role of the Secretary of Public Safety in coordination

         with the senior Executive Management of the PRPB.

     •   Implementation of policy and procedures has been severely

         lacking across the 11 areas of the Reform Agreement

         according to the Chief Monitor’s Reports.     PRPB Executive

         Management should develop a system of accountability for

         the tracking of policies and procedures cited repeatedly

         as not compliant with the requests of the Monitoring

         Team.     In addition to rating each paragraph, the

         Monitoring Team has included the way forward in each

         Chief Monitor’s Report for PRPB to attain compliance for

         each paragraph in the Agreement.     PRPB Executive

         Management should adopt the Monitor’s recommendations and

         implement suggestions where feasible to show progress

         towards compliance.

     •   PRPB lacks a unified vision to implement the consent

         decree.     PRPB’s original strategy at the end of the

         capacity building period at the end of 2018, was to

         develop, train and implement all policies within four

         zones of excellence and expand to other police areas over

         time.     PRPB abandoned this strategy with no replacement

         strategy.     Due to the size and complexity of PRPB across
Civil No. 12-2039 (FAB)                                               25


         the Island of Puerto Rico, consideration should be given

         to reimplementing the four zones of excellence strategy

         in the absence of a strategy to implement the consent

         decree.

     •   Within PRPB or DPS, but outside of the PRPB Reform

         Office, a new administrative entity should be created

         which oversees compliance generally.     The creation of

         this new section independent of the PRPB Reform Office,

         as is the case in other cities in the country under a

         federal consent decree, will facilitate ongoing

         compliance and oversight of the work of the PRPB Reform

         Office and serve as the primary mechanism to ensure

         adherence to the reforms made under the Agreement once

         the reform of the PRPB has ended.     In addition to the

         benefit to the Reform, this entity will continue the

         work of the Reform after the conclusion of the Reform

         Agreement.

     •   The parties, the Monitoring Team, and the OSM should

         meet as soon as practicable to discuss and define what

         reorganization of the Reform Office oversight and DPS

         involvement is appropriate and how to implement those

         changes.     This would include submitting recommendations
Civil No. 12-2039 (FAB)                                           26


         to the Office of Management and Budget of Puerto Rico

         (OGP) and Financial Oversight and Management Board of

         Puerto Rico (FOMB) for funding as needed.

  4. PRPB must adequately respond to requests for information

     from the Monitoring Team.

     Once the above recommendations are implemented and staffing

     is increased both in the PRPB Reform Office and in the

     outside entities, the new management structure must ensure

     that information requests are attended to promptly and

     accurately.   With properly staffed personnel in the PRPB

     Reform Office and in the field collecting and forwarding

     requested information, this will no longer be a recurring

     issue which will be reflected in future iterations of the

     CMR. Given that the requests by the Monitor are consistent

     and similar in nature regarding the type of information

     being sought, an adequately staffed PRPB Reform Office

     would be in a position to anticipate requests before these

     are being made.

  5. Commonwealth entities must have functional collaboration

     and information flow.

     •   Once these recommendations have been implemented, the

         information flow is expected to improve dramatically.
Civil No. 12-2039 (FAB)                                            27


         Staff assigned to specific compliance areas with

         dedicated supervisory staff responsible and accountable

         for specific compliance areas will improve the accuracy

         and quality of data provided to the Monitoring Team.

     •   The OSM suggests the Governor’s Executive Order making

         the DPS Secretary the accountable executive over the

         Police Reform be followed and enforced.   The Executive

         Order explicitly stated DPS Secretary must collaborate

         with the Police Commissioner, but the Executive Order

         placed the DPS Secretary in charge of the Police Reform.

  6. PRPB management must be accountable for failures in the

     Reform process.

     Once the above recommendations are implemented and the

     senior management of the Reform is supplemented and led by

     DPS, standard operating procedures should be established to

     make the accountability process clear, and shift

     responsibility to the 13 geographic areas for the accuracy

     and punctuality of requested information. If PRPB

     designated personnel in the 13 geographic areas are not

     accountable to the requests made by the Reform Office, they

     must be held accountable. The challenge currently in place

     was very few, if any, are being held accountable for non-
Civil No. 12-2039 (FAB)                                              28


     compliance with the PRPB Reform Office Requests, which

     cannot continue to go unnoticed.

  7. Current efforts to bolster IT systems and IT expertise

     should be supported and continued.

     This issue has received significant attention from the

     Court, the OSM, the parties, and the Monitoring Team.       PRPB

     has brought in the IT firm Gartner and AH Analytics to

     improve information systems and make recommendations for

     improved IT efficiencies.    The OSM recommends the

     continuation of the current innovation in the IT systems

     underway and the identified significant investment in IT

     systems, protocols, and personnel.    The OSM highly

     recommends PRPB follow IT experts’ recommendations

     currently being offered.    The success of the reform is

     dependent upon having adequate IT systems to produce

     accurate and timely data.

     In addition, DPS reported to the parties and the OSM the

     hiring of 77 IT personnel within the PRPB to enhance the IT

     capabilities of the PRPB and the Reform Office.       In June

     2022, it was learned the Office of Human Resources

     Administration and Transformation in the Government of
Civil No. 12-2039 (FAB)                                            29


     Puerto Rico (OATRH) instructed the DPS to cancel the job

     postings.   The hiring of IT personnel for PRPB is critical

     to the success of the Reform.   The OSM strongly recommends

     the hiring of the 77 IT personnel for PRPB should be

     reconsidered.

  8. Training Division should be included in all aspects of the

     Reform Process

     The lack of information provided by the Training Division

     and cited communication issues between the Reform Office

     and Training Division demonstrate the need for the Training

     Division to be made a part of the reform process.

     The Special Master certifies that the foregoing document

was electronically filed with the Clerk of the Court for the

District of Puerto Rico, using the CM/ ECF system which will

send a copy and notification of filing to the Monitor and all

counsel of record.

RESPECTFULLY SUBMITTED this 15th day of September 2022,

 ALEJANDRO DEL CARMEN
 Special Master

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